(Post. 3/26/13)            Case 4:13-cr-00148-SWW Document 165 Filed 06/26/13 Page 1 of 1
                                                                                U.S. DISTRICT COURT
                                             IN THE UNITED STATES DISTRICTE~ti~f.}N DISTRICT OF ARKANSAS
                                                 EASTERN DISTRICT OF ARKANSAS
                                                       WESTERN DIVISION
                                                                                                      Fll ED
                                                                                                       JUN 26 2013
                  UNITED STATES OF AMERICA                                                         IN OPEN cbL~TlFF
                                                                                         JAMES W. McC@RM~;CK, CLE~K
                          vs.                             NO. 4:13-CR-00148 SWWBY:                 S.c.,a~~
                                                                                                      ' ?'·: .-r.;"···/
                                                                                                    DEPU r ' v1....c.--r..,,
                  LAMONT WILLIAMS                                                                               DEFENDANT


                                       WAIVER OF APPEARANCE FOR ARRAIGNMENT
                                          AND ENTRY OF PLEA OF NOT GUILTY
                                (Pursuant to Rules 10 and 43 ofthe Federal Rules of Criminal Procedure)

                          NOW COl\1ES Defenda.'lt in the above-referenced case '.vho, along wit.~ his/her undersigned attorney,
                  hereby acknowledges the following:

                  1)      Defendant has received a copy of the indictment, superseding indictment or misdemeanor
                          information in this case. Defendant understands the nature and substance of the charges contained
                          therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
                          advised of all of the above by his/her attorney.

                  2)      Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
                          for arraignment in open court on this accusation. Defendant further understands that, absent the
                          present waiver, he/she will be so arraigned in open court.

                  Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
                  his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
                  information, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
                  the Court of said plea for defendant will conclude the arraignment in this case for all purposes.




                           The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                           plea of not guilty is entered for the defendant effective this date.

                           The defendant's request to waive appearance at th




                  cc:     All Counsel ofRecord
                          U.S. Probation Office
                          U.S. Marshals Service
                          Presiding Magistrate Judge
